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MATTHEW G. MONFORTON
Montana State Bar No. 5245
MONFORTON LAW OFFICE,PLLC
32 Kelly Court
Bozeman, Montana 59718
Telephone: (406)570-2949
Facsimile:(406)551-6919
E-mail: matthewmonforton@yahoo.com

DAVID P. CLAIBORNE
 Idaho State Bar No. 6579'
SAWTOOTH LAW OFFICES,PLLC
Golden Eagle Building
1101 W. River St., Ste. 110
Boise, Idaho 83702
Telephone:(208)629-7447
Facsimile:(208)629-7559
E-mail: david@sawtoothlaw.com

Attorneys for Applicants for Intervention


                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                           (MISSOULA DIVISION)


CENTER FOR BIOLOGICAL                       Lead Case No. CV 20-181-M-DWM
DIVERSITY,etal,

                                            Member Case No. CV 20-183-M-
       Plaintiffs,
                                            DWM
              vs.

                                            DECLARATION OF DAVID P.
 DEB HAALAD,et al.
                                            CLAIBORNE IN SUPPORT OF
                                            MOTION FOR PRO HAC VICE
       Defendants;

              and



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  STATE OF IDAHO,an Idaho
  nonprofit corporation;

       Defendant-Intervenor;

             and

 IDAHO STATE SNOWMOBILE
 ASSOCIATION,INC., an Idaho
 nonprofit corporation; IDAHO
 RECREATION COUNCIL,INC., an
 Idaho nonprofit corporation;
 COLORADO SNOWMOBILE
  ASSOCIATION,a Colorado nonprofit
  organization; BACKCOUNTRY
  SLED PATRIOTS,a Montana
  nonprofit organization; CITIZENS
  OFR BALANCED USE, a Montana
  nonprofit organization; UNITED
 SNOWMOBILE ALLIANCE,a New
 Hampshire nonprofit organization;
  AMERICAN COUNCIL OF
 SNOWMOBILE ASSOCIATIONS, a
 Michigan nonprofit organization; OFF
 ROAD BUSINESS ASSOCIATION,
 a California nonprofit organization;
 COLORADO OFF HIGHWAY
 VEHICLE COALITION, a Colorado
 nonprofit organization; TRAILS
 PRESERVATION ALLIANCE,a
 Colorado nonprofit organization;
 UNITED FOUR WHEEL DRIVE
 ASSOCIATION,a California
 nonprofit organization;
 CLEARWATER COUNTY BOARD
OF COMMISSIONERS,a political
subdivision of the State ofIdaho;
IDAHO COUNTY BOARD OF
COMMISSIONERS,a political
subdivision of the State ofIdaho;

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 BONNER COUNTY BOARD OF
 COMMISSIONERS,a political
 subdivision of the State of Idaho;
 VALLEY COUNTY BOARD OF
 COMMISSIONERS,a political
 subdivision of the State ofIdaho;
 ADAMS COUNTY BOARD OF
 COMMISSIONERS,a political
 subdivision of the State of Idaho;
 LINCOLN COUNTY BOARD OF
 COMMISSIONERS, a political
 subdivision of the State of Montana;
 MINERAL COUNTY BOARD OF
 COMMISSIONERS, a political
 subdivision of the State of Montana;
 RAVALLI COUNTY BOARD OF
 COMMISSIONERS, a political
 subdivision of the State of Montana;

       Applicants for Intervention.




     Pursuant to L.R. 83.1(d), I, David P. Claiborne, hereby respectfully request

to appear pro hac vice on behalf ofIntervener-Applicants -IDAHO STATE

SNOWMOBILE ASSOCIATION,INC., an Idaho nonprofit corporation;

IDAHO RECREATION COUNCIL,INC., an Idaho nonprofit corporation;

COLORADO SNOWMOBILE ASSOCIATION,a Colorado nonprofit

organization; BACKCOUNTRY SLED PATRIOTS, a Montana nonprofit

organization; CITIZENS OFR BALANCED USE, a Montana nonprofit

organization; UNITED SNOWMOBILE ALLIANCE,a New Hampshire

nonprofit organization; AMERICAN COUNCIL OF SNOWMOBILE

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 ASSOCIATIONS, a Michigan nonprofit organization; OFF ROAD BUSINESS

 ASSOCIATION,a California nonprofit organization; COLORADO OFF

 HIGHWAY VEHICLE COALITION,a Colorado nonprofit organization;

 TRAILS PRESERVATION ALLIANCE,a Colorado nonprofit organization;

 UNITED FOUR WHEEL DRIVE ASSOCIATION, a California nonprofit

 organization; CLEARWATER COUNTY BOARD OF COMMISSIONERS,a

 political subdivision of the State of Idaho; IDAHO COUNTY BOARD OF

COMMISSIONERS,a political subdivision of the State of Idaho; BONNER

COUNTY BOARD OF COMMISSIONERS,a political subdivision of the State

of Idaho; VALLEY COUNTY BOARD OF COMMISSIONERS,a political

subdivision of the State ofIdaho; ADAMS COUNTY BOARD OF

COMMISSIONERS,a political subdivision of the State of Idaho; LINCOLN

COUNTY BOARD OF COMMISSIONERS, a political subdivision of the State

of Montana; MINERAL COUNTY BOARD OF COMMISSIONERS, a

political subdivision of the State of Montana; RAVALLI COUNTY BOARD OF

COMMISSIONERS,a political subdivision of the State of Montana. I declare the

following under penalty of perjury as follows:

   1.
         I am a resident of the State ofIdaho and my office address is Sawtooth

         Law Offices, PLLC, 1101 W. River Street, Suite 110, Boise, Idaho,




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          83702. My office telephone number is 208-629-7447 and my email

          address is david@sawtoothlaw.com.

  2.      The local counsel that I am associated with has paid the pro hac vice

          admission fee along with the filing of this declaration and accompanying

          motion supporting this application to appear pro hac vice.

  3.      I am proficient in electronic filing in the U.S. District Court for the

          District of Idaho, and am registered with the CM/ECF system for the

          U.S. District Court for the District of Idaho, as well as in other federal

          jurisdictions in which I practice. I will promptly register with the District

          of Montana’s CM/ECF system if my limited admission is granted.

  4.      I have been admitted to practice in the following courts: Supreme Court

          of the State of Idaho and all lower courts (admitted 2002); U.S. District

          and Bankruptcy Courts for the District of Idaho (admitted 2002); U.S.

          District Court for the District of Colorado (admitted 2007); U.S. Court of

          Appeals for the Ninth Circuit (admitted 2009); Supreme Court of the

          State of Washington and all lower courts (admitted 2012); U.S. Court of

          Federal Claims (admitted 2015). I have never had an admission to any

          court terminated.

  5.      I am in good standing and eligible to practice in the above listed courts.




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    6.      I am not currently, nor have I ever been, suspended or disbarred in
                                                                             i any

            court.

    7.
            I have never been held in contempt, otherwise disciplined by any court

           for disobedience of its rules or orders, or sanctioned under Fed. R. Civ. P.

            11 or 37(b),(c),(d), or (f) or any state equivalent.

   8.
           I have not previously applied for pro hac vice admission in this court. 1

           have been previously admitted pro hac vice in the U.S. District Court for

           the District of Hawai’i. That case is no longer active.

   9.      I understand that pro hac vice admission in this Court is personal to me

           only and is not admission of a law firm and that I will be held fully

           accountable for the conduct of the litigation in this Court. In accordance

           with Mont. R. Prof. Conduct 8.5,1 certify that I will be bound to the

           Montana Rules of Professional Conduct in my practice of law in the State

           of Montana for the purposes ofthe above-captioned matter-except as to

          Rules 6.1 through 6.4—and will be subject to the disciplinary authority of

          the State of Montana. I have complied with Mont. R. Prof Conduct 8.5

          by sending a letter to the State Bar of Montana certifying that I will be

          bound to the Montana Rules of Professional Conduct in my practice of

          law for the purposes of the above-captioned matter-except as to Rules




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         6.1 through 6.4-and will be subject to the disciplinary authority of the

         State of Montana.

      I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

foregoing is true and correct.

      DATED this 30'*’ day of August, 2021.

                                      SAWTOOTH LAW OFFICES,PLLC

                                         /s/ David P. Claiborne
                                      by: David P. Claiborne




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on the
following on this 30‘*’ day of August, 2021, by the following method:

 AMANDA DALMENDRAY GALVAN
 TIMOTHY J. PRESO
 EARTHJUSTICE LEGAL DEFENSE                      [ ]U.S. First Class Mail, Postage Prepaid
 FUND - BOZEMAN                                  [ ]U.S. Certified Mail, Postage Prepaid
 313 East Main Street                            [ ]Federal Express
Bozeman, MT 59715                                [ ]Fland Delivery
Telephone:(406) 586-9699                         [ ]Facsimile
Facsimile:(406)586-9695                          [_X_] iCourt / Electronic Mail or CM/ECF
Email: aQalvanTf’carthi uslice.oru:
tprcso@earthiustice.ore
Attorneysfor Centerfor Biological Diversity,
Conservation Northwest, Defenders of
Wildlife, Friends ofthe Clearwater, Greater
Yellowstone Coalition, Idaho Conservation
League, Jackson Hole Conservation Alliance,
Klamath-Siskiyou Wildlands Center, Rocky
Mountain Wild and Sierra Club



KAMELA A. CASCHETTE
RANDY J. TANNER
U.S. DEPARTMENT OF JUSTICE                        LJ U.S. First Class Mail, Postage Prepaid
Environmental & Natural Resources Div.            LJ U.S. Certified Mail, Postage Prepaid
Ben Franklin Station                              LJ Federal Express
PO Box 7611                                         Fland Delivery
Washington, DC 20044-7611                        [ ]Facsimile
Telephone:(202) 305-0340                          LX_]iCourt / Electronic Mail or CM/ECF
Facsimile:(202) 305-0275
Email:kamela.caschette@usdoj.gov;
randv.tanner@.usdoi.eov
Attorneysfor Scott de la Vega, Martha
Williams, United States Fish and Wildlife
Service




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 OWEN H. MORONEY
 IDAHO OFFICE OF THE ATTORNEY
 GENERAL                                 [ ]U.S. First Class Mail, Postage Prepaid
 2117 North 17‘‘’ Street                 [ ]U.S. Certified Mail, Postage Prepaid
 Boise, ID 83702                         [ ]Federal Express
 Telephone:(208) 287-2875                [ ]Hand Delivery
 Facsimile(208) 334-2148                 [ ]Facsimile
 Email: ovven.moronev@idrn.idaho.gov     [_X_] iCourt / Electronic Mail or CM/ECF
 Attorneysfor State ofIdaho


                                       MONFORTON LAW OFFICES,PLLC

                                 by; /s/ Matthew G. Monforton
                                   Matthew G. Monforton




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